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 6
                          UNITED STATES DISTRICT COURT
 7                  WESTERN DISTRICT OF WASHINGTON AT TACOMA
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 9
      UNITED STATES OF AMERICA,

10
                           Plaintiff,                  CASE NO. CR04-5516BHS

11
             v.                                        ORDER DENYING
                                                       DEFENDANT’S MOTION FOR
12
      MICHAEL STEFFEN,                                 DISCHARGE FROM
                                                       SUPERVISED RELEASE
13
                           Defendant.

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            This matter comes before the Court on Defendant Michael Steffen’s motion for
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     discharge from supervised release. Dkt. 169. The Court has considered the pleadings
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     filed in support of the motion and hereby denies the motion for the reasons stated herein.
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            Defendant requests early termination of his supervised release because it is a
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     hardship to obtain permission from his probation officer every time he needs to leave
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     town for work and family.
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            The United States Probation Office (“Probation”) recommends denying
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     Defendant’s motion (Dkt. 170), and the Court agrees. First, as Probation stated in its
22
     response, Defendant was convicted of an offense that indicates he is at moderate risk to
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     re-offend. Second, while Probation indicates that Defendant has reported to the probation
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     office and has submitted to regular urinalysis testing with negative results, the Court
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     agrees with Probation that Defendant is not faced with an undue hardship by completing a
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     travel request and submitting it two weeks prior to his desired departure date.
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     ORDER – 1
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 1         Therefore, it is hereby

 2         ORDERED that Defendant Michael Steffen’s motion for discharge from

 3   supervised release (Dkt.169) is DENIED.

 4         DATED this 17th day of August, 2009.




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                                                  BENJAMIN H. SETTLE
 8                                                United States District Judge
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     ORDER – 2
